           Case 2:16-cr-00038-DC-CKD Document 59 Filed 11/23/16 Page 1 of 1


 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 MICHAEL D. ANDERSON
   CHRISTOPHER S. HALES
 3 Assistant United States Attorney
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900
 6
   Attorneys for Plaintiff
 7 United States of America
 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         CASE NO. 2:16-CR-0038 MCE

12                               Plaintiff,            ORDER CONTINUING HEARING DATE

13                        v.                           DATE: December 7, 2016 (requested)
                                                       TIME: 10:00 a.m.
14   JAMAL SHEHADEH, ET AL.,                           COURT: Hon. Morrison C. England, Jr.

15                              Defendants.

16
17         The parties’ joint stipulated request to continue the hearing date on defendants’ motion for

18 reconsideration (ECF 54) of the Court’s CIPA Protective Order (ECF 52) is hereby GRANTED. The
19 hearing shall be scheduled for Wednesday, December 7, 2016 at 10 a.m.
20         IT IS SO ORDERED.

21 Dated: November 22, 2016
22
23
24
25
26
27
28


      ORDER                                             1
